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                                                                        CLERK,U.3. DISTRICT COURT


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 9                         IN THE UNITED STATES DISTRICT COURT
l0                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     '~ In the Matter of the Seizure of:         Case No.2:18-cv-6742-RGK(MAAx)
12
                                                 Consolidated with Case Nos.: 18-MJ-00712;
13 Any and all funds held in Republic            18-MJ-00713; 1 &MJ-00715; 18-MJ-00716; 18-
   Bank of Arizona Accounts)       x1889,
14 x
                                                 MJ-00718; 18-MJ-00719; 18-MJ-00720; 18-
       2592, xx~1938, xxxx2912, and,
                                                 MJ-00721; 18-MJ-00723; 18-MJ-00724; 18-
   xx~2500,
15                                               MJ-00751; 18-MJ-00797; 18-MJ-00798; 18-
16   And all consolidated cases.                 MJ-00996; 18-MJ-00997; 18-MJ-01427; and
                                                 18:MJ-1863
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18                                               NOTICE OF FILING OF REDACTED
                                                 REQUEST FOR JUDICIAL NOTICE
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             NOTICE OF FILING OF REDACTED VERSION OF REQUEST FOR JUDICIAL NOTICE
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 1          TO THE COURT AND ALL PARTIES OF RECORD:
 2          On August 1, 2018, undersigned counsel for James Larkin submitted to the Court for
 3    filing the following documents: (i) Notice of Motion and Motion to Vacate or Modify
 4    Seizure Warrants; Declarations ofJames Larkin, Michael Lacey, John Brunst, Scott Spear,
 5 ~ ~ Margaret Larkin, Troy Larkin, Ramon Larkin, and Antoinnete Thomas (the "Motion to

      Vacate or Modify"); (ii) Ex Parte Application for Permission to File an Oversized Brief,'
 7    Declaration of Kenneth M. Miller; [Proposed) OYdef~; (iii) Notice of Related Cases
 8 Pursuant to L.R. 83-1.3;(iv) Requestfor Judicial Notice ("RJN");(v) Notice ofErYata to

 9 the Notice ofthe Motion to Vacate or Modify; and(vi)James Larkin's Notice ofApplication
10    and Application to File Under Seal Pursuant to Local Rule 79-5; [Proposed) Order
1 1 (collectively, the "Initial Pleadings"). Undersigned counsel also submitted for filing a
]2    Notice of Manual Filing for each ofthe Initial Pleadings.
13          On August 3, 2018, the Honorable Patrick J. Walsh conducted a telephonic
14    conference regarding the Motion to Vacate or Modify. At that hearing, among other things,
15    Judge Walsh ruled that he would accept the Initial Pleadings to be filed under seal, but
16    ordered undersigned counsel to submit redacted versions of the Initial Pleadings to be filed
17    on the publicly available docket by August 8, 2018.
18          On August 8, 2018, in accordance with Judge Walsh's Order, undersigned counsel
19 ~ submitted to the Court for filing redacted versions of the Initial Pleadings. However,
lil undersigned counsel was unable to include a redacted version of the RJN. Accordingly,
21    contemporaneous with the filing of this Notice, undersigned counsel is submitting a
22    redacted version ofthe RJN,in compliance with Judge Walsh's order.
23    Dated: August 9, 2018                 BIENERT, MILLER & KATZMAN,PLC
24                                          By: /s/ Kenneth M. Miller
                                               Thomas H. Bienert
25
                                               Kenneth M. Miller
26                                             Anthony R. Bisconti
27
                                               Attorneys for James Larkin

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             NOTICE OF FILING OF REDACTED VERSION OF REQUEST FOR JUDICIAL NOTICE
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 1                               CERTIFICATE OF SERVICE

 2        That I am a citizen of the United States and am a resident or employed in Orange
 3 County, California; that my business address is 903 Calle Amanecer, Suite 350, San
   Clemente, California 92673; that I am over the age of 18 and not a party to the above-
 4 entitled action.
 5
         That I am employed by a member of the United States District Court for the
 6 Central District of California and at whose direction on August 9, 2018 I caused service
 7 of: (1) Notice of Filing of Redacted Request for Judicial Notice and (2) CD
   Containing and Electronic copy of the Redacted Request for Judicial Notice with
 8 exhibits on the interested parties as follows:
 9
10
11  X    BY PERSONAL DELIVERY —Two printed copies of the Notice of Filing
12 f Redacted Request for Judical Notice and one CD with an Electronic Version of
    he Redacted Request for Judicial Notice and exhibits 1-35 were delivered by
13 ASAP Legal to the Civil Intake filing window of The United States District Court
14 :oybal Federal Building and U.S. Courthouse 255 East Temple Street Los Angeles,
   'A 90012
15
16
17
            I declare that I am employed in the office of a member of the bar of this Court
18
      at whose direction the service was made.
19
20
            Executed on August 9, 2018 at San Clemente, California.
21
22
23                                          /s/ Toni Thomas /sl
                                            Toni Thomas
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27,
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                                                1
                                     CERTIFICATE OF SERVICE
